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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )             4:03CR3128
                                               )
               v.                              )
                                               )
WENDY ESQUIVAL,                                )               ORDER
                                               )
                       Defendant.              )
                                               )


               On February 3, 2006, the defendant appeared through counsel on a motion for

reduction of sentence (Filing No. 45), filed by the plaintiff pursuant to Rule 35 of the Federal

Rules of Criminal Procedure. After considering the comments of the parties and after evaluating

the assistance provided by the defendant, the Court finds that the government’s motion for

reduction of sentence should be granted. Accordingly,

               IT IS ORDERED:

               1) The government’s motion for reduction of sentence is granted.

               2) Defendant be committed to the custody of the Bureau of Prisons for a term of

fifty-four (54) months. Defendant is to be given credit for time previously served under the

previous Judgment and Committal Order dated January 7, 2005, which was signed and filed on

January 14, 2005 (Filing No. 43).
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               3) All other terms and conditions of the Judgment and Committal Order dated

January 7, 2005, remain in full force and effect.

               DATED this 3rd day of February, 2006.

                                                      BY THE COURT:

                                                      /s/ Lyle E. Strom

                                                      LYLE E. STROM, Senior Judge
                                                      United States District Court




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                           ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this _______ day of __________,
200__.




                                                     Signature of Defendant



                                           RETURN
It is hereby acknowledged that the defendant was delivered on the ______ day of ___________,
200__ to _______________________________________, with a certified copy of this
judgment.




                                                         UNITED STATES WARDEN


                                               By:



NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of receipt, above.


                                        CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ______ day
of __________________, 200___.




                                                         UNITED STATES WARDEN


                                               By:


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